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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                                     :
UNITED STATES OF AMERICA                             :
                                                     :
                                                     :
               v.                                    :
                                                     :
BHASKAR SAVANI; ARUN SAVANI;                         :
NIRANJAN SAVANI; SUNIL PHILLIP; AMEN                 : CRIMINAL NO. 2:23-cr-00016-JLS
DHYLLON; ALEKSANDRA RADOMIAK; JON                    :
JULIAN; VIVEK SAVANI; BHARATKUMAR                    :
PARASANA; HITESHKUMAR GOYANI;                        :
PIYUSHA PATEL; and SUSAN MALPARTIDA,                 :
                                                     :
                      Defendants.                    :
                                                     :

                                            ORDER


AND NOW, this ________ day of ____________________, 2024, upon consideration of

Defendant Aleksandra Radomiak’s Unopposed Motion to Temporarily Modify Conditions of

Release, wherein she seeks permission to travel outside of the Eastern District of Pennsylvania to

the District of New Jersey from Friday, June 21, 2024, through Monday June 24, 2024, to attend

her nephew and Godson’s wedding in Belmar, New Jersey, and related events, it is hereby

ORDERED that the Motion is GRANTED.




                                             BY THE COURT:

                                             _______________________________________
                                             THE HONORABLE JEFFREY L. SCHMEHL
                                             United States District Judge
